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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA         )
                                 )
                                 )
v.                               )        Case No. 21-cr-00040-TNM
                                 )
PATRICK MCCAUGHEY, III, et. al., )
                                 )
                                 )
             Defendant           )
                                 )



                DEFENDANT DAVID MEHAFFIE’S ERRATA

     On February 17, 2023, undersigned filed Defendant David Mehaffie’s

Sentencing Statement in advance of the sentencing hearing set for February

24, 2023. See EFC No. 528.

     Undersign now submits this notice of errata and refiles Defendant David

Mehaffie’s Sentencing Statement.




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